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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CHRISTIFER CERVANTES, by and through
his natural mother and guardian, Ashley Case No.:
Cervantes, and Ashley Cervantes, individually,
                                               Judge:
                            Plaintiffs,
      v.
                                                    JURY TRIAL DEMANDED
MEAD JOHNSON & COMPANY, LLC, a/k/a
MEAD JOHNSON NUTRITION COMPANY,

                              Defendant.


                                           COMPLAINT

       Plaintiffs, Christifer Cervantes and Ashley Cervantes, (collectively, “Plaintiffs”), bring this

action against Defendant Mead Johnson & Company, LLC, a/k/a Mead Johnson Nutrition

Company (“Defendant” or “Mead”), asserting claims arising from the catastrophic injury they

sustained as a direct result of Defendant’s design, development, manufacture, testing, packaging,

promoting, marketing, distribution, labeling, and/or sale of bovine-based formulas and/or fortifiers

(“bovine formula”) to premature infants.

                                       INTRODUCTION

       1.      Defendant knowingly advertised, promoted, supplied, manufactured, provided

instructions, marketed, labeled, packaged, sold, and placed in the stream of commerce its baby

formula, Enfamil, which is unsafe and unreasonably dangerous for its intended use and purpose.

       2.      Enfamil causes a significant increase in incidences of necrotizing enterocolitis

when administered enterally to premature infants.
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       3.        Despite well-known, reliable scientific studies and data establishing the increased

risk of necrotizing enterocolitis when Enfamil is administered to premature infants, Defendant

knowingly withheld this information from the consuming public, including Plaintiffs.

       4.        In its quest to maximize profits, Defendant placed its own economic interests over

its customers’ lives and safety, by deceptively marketing, promoting, and advertising Enfamil as

being a safe, alternative to human milk-based formulas and fortifiers, when it knew or should have

known that Enfamil was unsafe and unreasonably dangerous for administration to premature

infants—including Christifer Cervantes, due to the increased risk of necrotizing enterocolitis and

associated medical conditions that Enfamil causes in premature infants.

       5.        As a direct and proximate result of Defendant’s conduct, as described herein,

Christifer Cervantes was diagnosed with necrotizing enterocolitis, sustaining severe injuries as a

cause thereof.

                                             PARTIES

Plaintiffs

       6.        Ashley Cervantes, is a resident of Pasco, Franklin County, Washington. She is the

mother of Christifer Cervantes, who is a minor.

       7.        Christifer Cervantes was born on October 11, 2018, at Kadlec Regional Medical

Center (“Kadlec”) in Washington, at 28 weeks gestation and weighing two pounds and eleven

ounces.

       8.        Given his premature, Christifer Cervantes was transferred to the Neonatal Intensive

Care Unit (“NICU”) for care.

       9.        While in the NICU, Christifer Cervantes was provided nutrients through an enteral

feeding tube. For that process, Christifer Cervantes was specifically given Enfamil (“formula”



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and/or “product”), a formula and/or fortifier which is a formula which is bovine based, and which

does not contain human milk.

        10.     Shortly after receiving the formula enterally, Christifer Cervantes began to suffer

from gastrointestinal issues and was diagnosed with NEC.

        11.     After one month in the Kadlec NICU, Christifer Cervantes was then transferred to

the NICU of Providence Medical Center in Spokane, Washington.

        12.     Christifer Cervantes continues to suffer from severe injury as a result of his NEC

caused by Defendant’s Enfamil product.

Defendant

        13.     Mead Johnson Nutrition Company is a Delaware corporation, with its principal

place of business in the State of Illinois. Mead Johnson & Company LLC is a Delaware limited

liability company. Its citizenship is the State of Illinois, the state of citizenship of its sole member,

Mead Johnson Nutrition Company.            Unless otherwise indicated, Mead Johnson Nutrition

Company and Mead Johnson & Company LLC are collectively referred to herein as “Mead.”

        14.     At all times relevant to this action, Mead conducted, and continues to conduct, a

substantial amount of business activity and has engaged in tortious conduct, in whole or in part, in

this District. Mead is headquartered in Chicago, Illinois and engaged in interstate commerce in all

fifty states when it advertised, promoted, supplied, manufactured, provided instructions, marketed,

labeled, packaged, sold, and placed in the stream of commerce Enfamil, an infant formula and/or

fortifier, to distributors and retailers for resale to physicians, hospitals, medical practitioners, and

the general public, deriving substantial revenue in this District.




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                                    JURISDICTION AND VENUE

           15.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, because

the amount in controversy exceeds $75,000, exclusive of interest and costs, and because Defendant

is a citizen of a state other than the state in which Plaintiffs are citizens.

           16.    Venue in this District is proper under 28 U.S.C. § 1391, because a substantial part

of the events or omissions giving rise to the claims alleged herein occurred in this District.

           17.    This Court has personal jurisdiction over Defendant because Defendant is

headquartered in Chicago, Illinois.

                                     FACTUAL ALLEGATIONS

A. Necrotizing Enterocolitis

           18.    Necrotizing Enterocolitis (“NEC”) is a severe gastrointestinal disease in premature

(preterm) infants (“infants”).

           19.    The Centers for Disease Control and Prevention (“CDC”) defines preterm birth as

when a baby is born before the 37 weeks of full-term pregnancy have been completed.1 In 2020

alone, preterm birth affected one out of every ten infants born in the United States.2

           20.    NEC is the most common, and frequently dangerous, gastrointestinal emergency in

premature infants in the NICU. It is also the most common cause of gastrointestinal-related death

among the smallest, most premature infants in the NICU.3



1
    Center for Disease Control and Prevention, Preterm Birth,
https://www.cdc.gov/reproductivehealth/maternalinfanthealth/pretermbirth.htm (last modified Nov. 1,
2021).
2
 Id. For context, in 2020, 3,605,201 babies were born in the United States, meaning that more than
360,000 of those babies were born prematurely—close to 1,000 every day.
https://www.cdc.gov/nchs/data/vsrr/vsrr012-508.pdf
3
 Sheila M. Gephart, RN, BSN, et al., Necrotizing Enterocolitis Risk: State of Science, 12 Advances in
Neonatal Care 77-89 (2012).

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          21.      NEC occurs when tissue in the large intestine, also known as the colon, becomes

inflamed.4 This inflammation damages and kills tissue in the infant’s colon.

          22.      Signs and symptoms of NEC often include abdominal distension, hemorrhage and

necrosis of tissue within the intestine, peritonitis,5 intestinal perforation, discomfort, and death.6

          23.      The NEC diagnosis is commonly determined with the use of Modified Bell’s

Staging Criteria, ranging from Stage IA (suspected NEC) to the most severe at Stage IIIB

(advanced, severely ill, perforated bowel).7 The Modified Bell’s Staging Criteria incorporate

systemic, intestinal, and radiological signs to adequately diagnose, stage, and treat NEC.

          24.      In some infants, NEC is mild. In others, however, symptoms are severe and life-

threatening. Mild cases of NEC may be effectively treated by withholding enteral feeds,8

decompressing the stomach with a nasogastric tube, and/or starting broad-spectrum antibiotics.9




4
 Stanford Children’s Health, Necrotizing Enterocolitis in the Newborn,
https://www.stanfordchildrens.org/en/topic/default?id=necrotizing-enterocolitis-90-P02388 (last visited
Feb. 22, 2022).
5
    Peritonitis is defined as redness, swelling, and inflammation of the tissue that lines the abdomen.
6
 Anand RJ, et al., The Role of the Intestinal Barrier in the Pathogenesis of Necrotizing Enterocolitis, 27
Shock 124–33 (2007).
7
 Josef Neu, MD, Necrotizing Enterocolitis, The Search for a Unifying Pathogenic Theory Leading to
Prevention, 43 Pediatr. Clin. North. Am. 409–432 (1996),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7127724/.
8
 Enteral feeding refers to intake of food through the gastrointestinal (GI) tract. The GI tract is composed
of the mouth, esophagus, stomach, and intestines. Enteral feeding may mean nutrition taken through the
mouth or through a tube that goes directly to the stomach or small intestine.
9
 PK, Rasiah SV, Ewer AK, Necrotizing Enterocolitis: Current Perspectives, 4 Res. Rep. Neonatal 31-42
(2014).

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            25.   In advanced cases, however, NEC may lead to surgery, extensive intestinal

necrosis, and death.10 The mortality rate for NEC patients ranges from 10% to 50% and approaches

100% for patients with the most severe form of the disease.11

            26.   If the infant survives the disease, the long-term outcomes present a multitude of

health issues. Surgical NEC survivors are much more likely to have feeding difficulties and

gastrointestinal ostomies from ages six months to 36 months than those without an NEC

diagnosis.12 NEC infants treated with non-surgical intervention are more likely to have a higher

risk of failure to thrive, feeding difficulties, neurodevelopmental delay, and open gastrointestinal

ostomies when they are between six and twelve months of age.13

B. Bovine Formula Increases NEC Risk

            27.   Bovine milk is used to supplement infant formula. It contains oligosaccharides,

some of which are structurally identical, or similar to, those found in human milk.14

            28.   Bovine formula and/or fortifiers are non-prescription. Thus, it does not require a

physician’s recommendation and is sold with packaging and labels designed to inform the average

consumer.




10
     Id.
11
  Holman RC, et al., Necrotizing Enterocolitis Hospitalizations Among Neonates in the United States, 20
Paediatr Perinat Epidemiol, 498–506 (2006).
12
  Ganapathy V. Hay, et al., Long-term Healthcare Costs of Infants Who Survived Neonatal Necrotizing
Enterocolitis: A Retrospective Longitudinal Study Among Infants Enrolled in Texas Medicaid, 13 BMC
Pediatrics 127 (2013).
13
 Id.; Rees CM, et al., Neurodevelopmental Outcomes of Neonates with Medically and Surgically Treated
Necrotizing Enterocolitis, 92 Arch. Dis. Child Fetal Neonatal Ed. 193–8 (2007).
14
  Fernando Meli, et al., Growth and safety evaluation of infant formulae containing oligosaccharides
derived from bovine milk: a randomized, double-blind, noninferiority trial, 14 BMC PEDIATRICS 306
(2014).

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            29.    The Food and Drug Administration (“FDA”) has issued guidance specifically for

the labeling of infant formulas, stating, in pertinent part:

            Infant formulas are intended for a vulnerable population and may serve as a sole or
            primary source of nutrition for some infants during a critical period of growth and
            development. Caregivers of babies fed infant formula products must be able to trust
            that the information on the label is truthful, not misleading, and scientifically
            supported.

            30.    Bovine formula and/or fortifiers are often given to infants enterally and NEC only

occurs after infants have been enterally fed.15 Several challenges exist for preterm nutritional

support. Many preterm infants, especially those born <1500 g and/or <34 weeks gestation, are not

able to breastfeed.16 The suck-swallow-breathe rhythm of oral feeding may not be possible for

preterm infants because of coordination issues and/or low body stores of energy.17

            31.    Several studies establish that bovine formulas and/or fortifiers lead to a higher

incidence of NEC in preterm infants than human milk does.18 An exclusively human milk-based

diet is associated with a lower rate of NEC than a diet of human milk and bovine-based products.

            32.    In 1990, a landmark study was published linking bovine formula to NEC.19 The

authors conducted two parallel dietary studies, involving 926 very low birth weight infants. In


15
 Siggers RH, et al., Nutritional Modulation of the Gut Microbiota and Immune System in Preterm
Neonates Susceptible to Necrotizing Enterocolitis, 22 J Nutr. Biochem 511-21 (2011).
16
  Jocelyn Shulhan, et al., Current Knowledge of Necrotizing Enterocolitis in Preterm Infants and the
Impact of Different Types of Enteral Nutrition Products, 8 Adv Nutr. 80–91 (2017).
17
     Id.
18
  See Chowning R., et al., A Retrospective Analysis of the Effect of Human Milk on Prevention of
Necrotizing Enterocolitis and Postnatal Growth 36 J Perinatol 221-4 (2016); Johnson TJ, et al., Cost
Savings of Human Milk as a Strategy to Reduce the Incidence of Necrotizing Enterocolitis in Very Low
Birth Weight Infants, 107 Neonatology 271–6 (2015); Sullivan, S., et al., An Exclusively Human Milk-
Based Diet is Associated with a Lower Rate of Necrotizing Enterocolitis than a Diet of Human Milk and
Bovine Milk-Based Products, 156 J Pediatr 562–7 (2010); Cristofalo EA, et al., Randomized Trial of
Exclusive Human Milk versus Preterm Formula Diets in Extremely Premature Infants, 163 J Pediatr1592-
5 (2013).
19
     Lucas A., Cole TJ, Breast Milk and Neonatal Necrotizing Enterocolitis, 336 Lancet 1519-1523 (1990).

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Study A, infants were randomly assigned to pasteurized banked donated breast milk or nutrient-

enriched preterm formula. Randomization was stratified according to whether the mother provided

breast milk for her own infant. Thus, donor milk and preterm formula could be compared as sole

diets in infants whose mothers did not provide their own milk or as a supplement to breast milk.

Study B compared standard term formula or the preterm formula as sole diets or as supplements

to the mother’s milk. All infants with NEC had received enteral feeds. NEC developed in 51 of

the 926 preterm infants (5.5%). Of those confirmed cases, 35% needed surgery and 26% died. Of

the 86 infants exclusively fed donor breast milk, there were three cases (4%) of NEC, and among

the 76 infants fed exclusively preterm formula, there were six cases (8%) of NEC. NEC was

determined to be six to ten times more common in those fed bovine-based formula, and three times

more common than in those who received the formula plus breast milk

        33.     The effects of human milk versus formula feeding were evaluated in another study,

published in 1999.20 That study specifically compared outcomes of 62 infants fed fortified human

milk, which was defined as the mother’s own milk plus Enfamil Human Milk Fortifier. 46 infants

were fed exclusively the preterm formula Enfamil Premature Formula 24. The study found that

infants fed with any amount of human milk were discharged earlier than infants fed preterm

formula, despite significantly slower rates of weight gain and size. In addition, there was lower

incidence of NEC and late onset of sepsis in infants fed fortified human milk as compared to those

fed preterm formula. The study concluded that the unique properties of human milk promote an

improved host defense and gastrointestinal function compared with the feeding of formula.




20
 Schanler RJ, et al., Feeding Strategies for Premature Infants: Beneficial Outcomes of Feeding Fortified
Human Milk vs Preterm Formula, 103 Pediatrics 1150-57 (1999).

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            34.    Another study was published in 2010, evaluating the benefits of an exclusively

human milk-based diet compared with a diet of both human milk and bovine milk-based products

in extremely premature infants.21 Infants fed their own mothers’ milk were separated into three

different study groups: (1) HM100: pasteurized donor human milk-based human milk fortifier with

an enteral intake of 100 mL/kg/d; (2) HM40: pasteurized donor human milk-based human milk

fortifier with an enteral intake of 40 mL/kg/d; and (3) BOV: bovine milk-based human milk

fortifier with an enteral intake of 100 mL/kg/d. The groups receiving an exclusively human milk

diet had significantly lower rates of NEC and NEC requiring surgical intervention, as depicted in

Figure 2, below.




                                                                                     22




21
     Sullivan, supra note 18.
22
     Id.

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             35.   In another 2020 publication, the twelve-center randomized trial published in

2010,23 that compared bovine milk derived fortifier to human milk derived fortifier, was reviewed

and analyzed.24 The new study noted that it was common practice to feed preterm infants a base

diet comprising of only human milk, usually fortified with a bovine derived fortifier.25 The study

took the old data26 and focused on the infants who had a diet comprised 100% of their mothers’

own milk (i.e., they had no donor milk or preterm formula). This allowed for an isolated

comparison of the bovine derived fortifier and the human derived fortifier. The study found that

the bovine derived fortifier was associated with a higher risk of NEC, NEC requiring surgery,

reduced head circumference gain, and death.27 Despite the high intake of the mother’s own milk,

the bovine derived fortifier was still associated with a 4.2-fold increased risk of NEC and a 5.1-

fold increased risk of NEC surgery or death. Thus, those fed a human derived fortifier were

significantly advantaged in terms of a reduced incidence of morbidity. The authors concluded that

the available evidence points to an increase in adverse outcomes with bovine derived fortifier,

including NEC (Modified Bell’s Staging Criteria Stage 2 or greater), NEC surgery or death, and

surgical NEC.28




23
     Sullivan, supra note 18.
24
  Lucas, et al., Preterm Infants Fed Cow’s Milk-Derived Fortifier had Adverse Outcomes Despite a Base
Diet of Only Mother’s Own Milk, 15 Breastfeeding Medicine 297-303 (2020).
25
     Id.
26
     Lucas, supra note 24.
27
     Lucas, supra note 24.
28
     Id.

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C. Defendant Knew of the Risks Associated with Bovine Formula

             36.   When sufficient maternal breast milk is not available, it has been widely recognized

that alternative sources of enteral nutrition for preterm or low birth weight infants include donor

breast milk or artificial formula.

             37.   There are several clinical trials comparing the effects of feeding preterm infants

with human milk, human donor milk, and bovine milk-based products.

             38.   A Cochrane Library meta-analysis, last updated in 2018, analyzed data from eight

trials including 1,605 participants who were either preterm or low birth weight infants in a neonatal

unit.30 The combined data showed a higher risk of NEC in the formula-fed group. The studies

compared the use of formula and donor breast milk. The meta-analysis showed that the overall

risk of the infant developing NEC with donor breast milk was 3.7% and the overall risk with

formula was 7% (4.5-10.7%). The analysis documented that there is a higher risk of NEC in the

formula-fed group. Below is a summary of the studies that were examined as part of the meta-

analysis:



29
     Id.
30
 Quigley, et al., Formula versus Donor Breast Mild for Feeding Preterm or Low Birth Weight Infants, 6
Cochrane Database of Systematic Reviews (2018), https://pubmed.ncbi.nlm.nih.gov/29926476/.

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               a. Term Formula versus Unfortified Donor Breast Milk: the study evaluated

       the outcomes of preterm infants fed human milk compared to modified infant formula.31

       This study reported on 67 preterm infants from 1980 to 1982, comparing infants fed with

       unfortified donor milk and term formula. The results showed that three out of 26 infants on

       the formula milk developed NEC, whereas only one out of 41 infants receiving donor breast

       milk developed NEC—a 300% difference.

               b. Preterm Formula versus Fortified Donor Breast Milk: the study evaluated

       growth, metabolic response, and development in very-low-birth-weight infants fed donor

       milk or enriched formula.32 This study reported on 76 healthy infants of very low birth

       weights, comparing banked human milk and Similac Special Care protein-mineral–calorie-

       enriched formula. Two of the infants on the formula developed NEC while none of the

       infants on the donor milk developed NEC.

               c. Preterm Formula versus Fortified Donor Breast Milk: this study evaluated

       the clinical impact of infants fed bovine fortified breast milk.33 Published in 1996, this trial

       involved 276 preterm infants who were fed a base diet of a mother’s own milk, and if

       insufficient breast milk was available, bovine based preterm formula was added. The

       number of infants with NEC was 5.8% in the fortified group compared to 2.2% in the

       control group. The trial showed that the addition of bovine derived fortifiers to breast milk,


31
  Gross SJ, Growth and Biochemical Response of Preterm Infants Fed Human Milk or Modified Infant
Formula, 308 New England Journal of Medicine 237-41 (1983); Duke University Department of
Pediatrics; Funded by Mead Johnson Nutrition.
32
  Tyson JE, et al., Growth, Metabolic Response, and Development in Very-Low-Birth-Weight Infants Fed
Banked Human Milk or Enriched Formula. I. Neonatal Findings, 103 Journal of Pediatrics 95-104
(1983).
33
  Lucas A., et al., Randomized Outcome Trial of Human Milk Fortification and Developmental Outcome
in Preterm Infants, 64 Am J Clin Nutr 142-51 (1996); Supported by Mead Johnson (Evansville, IN)
which also supplied the fortifier.

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       as the sole intervention, more than doubled the combined incidence of confirmed NEC or

       sepsis.

                 d. Preterm Formula versus Fortified Donor Breast Milk: a randomized trial

       of extremely premature infants on donor human milk versus preterm formula was

       conducted.34 This study, published in 2005, compared the differences in 243 infants fed

       with their mothers’ milk, pasteurized donor milk plus Enfamil Human Milk Fortifier or

       Similac Human Milk Fortifier, and preterm formula (Enfamil Premature Formula). The

       results of this trial showed that infants who received their own mothers’ milk had a 50%

       less chance of NEC and/or late-onset sepsis compared with infants fed either donor human

       milk or preterm formula.

                 e. Preterm Formula versus Fortified Donor Breast Milk: a randomized trial

       examining the use of exclusive human milk versus preterm formula diets in extremely

       premature infants was conducted.35 This study, published in 2013, examined 53 extremely

       premature infants fed exclusive diets of either bovine milk–based preterm formula, or

       donor human milk with human milk-based fortifier. The incidence of NEC in the bovine

       formula group was 21% (five cases) versus 3% in the human milk group (one case).

       Surgical NEC was significantly higher in the bovine formula group (four cases) than human

       milk group (no cases). It was concluded that in extremely preterm infants, given exclusive

       diets of preterm formula versus human milk, there was a significantly higher rate of

       surgical NEC in infants receiving preterm formula. The researchers concluded that this



34
  Schanler RJ, et al., Randomized Trial of Donor Human Milk versus Preterm Formula as Substitutes
For Mothers’ Own Milk in the Feeding of Extremely Premature Infants, 116 Pediatrics 400-6 (2005).
35
  Cristofalo EA, et al., Randomized Trial of Exclusive Human Milk versus Preterm Formula Diets in
Extremely Premature Infants, 163 Journal of Pediatrics 1592-95 (2013).

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       trial supported the use of an exclusive human milk diet to nourish extremely preterm infants

       in the NICU.

               f. Preterm Formula versus Fortified Donor Breast Milk: this study examined

       the effect of supplemental donor human milk compared with preterm formula on

       neurodevelopment of very low birth-weight infants at eighteen months.36 This trial

       evaluated 363 very low birth weight infants whose mother’s breast milk became

       insufficient in four neonatal units in Ontario, California. The infant mother’s milk was

       supplemented with either preterm formula (Similac Special Care or Enfamil Premature),

       or pasteurized donor breast milk supplemented with a fortifier (Similac Human Milk

       Fortifier or Enfamil Human Milk Fortifier), and a protein module (Beneprotein-Nestlé).

       The study showed that the nutrient enriched donor milk was associated with a lower risk

       of NEC (1.7%) compared with feeding preterm formula (6.6%).

       39.     As demonstrated by these studies, although Defendant misleadingly markets and

promotes Enfamil to make parents and healthcare providers believe that it is safe and necessary

for growth of a premature infant, the product is in fact extremely dangerous for premature infants.

Enfamil substantially increase the chance of a premature infant developing NEC, resulting in

severe injury and death.

       40.     Despite the aforementioned science confirming the dangers of Defendant’s bovine

product in causing NEC and death in premature infants, Defendant took no action to change its

product, packaging, guidelines, instructions, and warnings.




36
  O’Connor DL, et al., Effect of Supplemental Donor Human Milk Compared with Preterm Formula on
Neurodevelopment of Very Low Birth-weight Infants at 18 months: A Randomized Clinical Trial, 316
JAMA 1897-1905 (2016). This study was funded by the Canadian Institutes of Health Research and the
Ontario Ministry of Health and Long-Term Care.

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       41.     Defendant continues to sell its bovine formulas and/or fortifiers commercially at

retail locations and online.

       42.     Despite knowing NEC’s risks arising from the use of its bovine-based products,

including its Enfamil product, Defendant failed to properly warn the consuming public, including

parents of premature infants and medical and healthcare providers, that its bovine formulas and/or

fortifiers, including Enfamil, significantly increase the risk that premature infants will develop

NEC and/or death.

       43.     Despite knowing NEC’s risks arising from the use of its bovine-based products,

including its Enfamil product, Defendant failed to design its bovine-based products to make them

safe and deceived the consuming public, including parents and healthcare providers of premature

infants, into believing that the products were safe and necessary alternatives, supplements, and/or

substitutes to human milk.

       44.     As a direct result of Defendant’s failure to take action to make its bovine-based

products safe and warn the consuming public of NEC’s risks arising from the use of those products,

Defendant’s bovine formulas and/or fortifiers caused Christifer Cervantes to develop NEC, which

resulted in his significant injuries. Prior to the administering of the formula to Christifer Cervantes,

Defendant knew or should have known that its bovine formula and/or fortifier was not safe for use

by premature infants, including Christifer Cervantes, yet it took no action to prevent the use of its

product by premature infants.

       45.     Defendant knew or should have known that its bovine formula and/or fortifier

would be used to feed premature infants, such as Christifer Cervantes, and knew or should have

known that such use would significantly increase the risk of NEC in premature infants, including

Christifer Cervantes, yet it took no action to prevent such use.



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       46.     Defendant’s formula is not safe to be used by premature infants, such as Christifer

Cervantes, and Defendant knew or should have known it was unsafe, yet it failed to properly

instruct or warn the FDA, NICUs, hospitals, doctors, and parents that its product was unsafe.

       47.     Despite Defendant’s knowledge that its product was not safe for use by premature

infants, including Christifer Cervantes, it also failed to provide detailed instructions or guidelines

on when and how its product would be safe to use in premature infants, like Christifer Cervantes.

       48.     Notwithstanding substantial medical evidence establishing the extreme dangers that

bovine formulas pose for premature infants, Defendant markets its bovine formulas and/or

fortifiers as equally safe alternatives to breast milk and promotes its products as necessary for

additional nutrition and growth. Defendant has specifically marketed its bovine formulas and/or

fortifiers as necessary to the growth and development of premature infants, despite knowing its

product poses a well-established and substantial risk to premature infants.

       49.     Despite the existence of safe, alternative human milk-based formulas and fortifiers,

Defendant continues to misleadingly market and sell its bovine formulas and/or fortifiers under

the guise of being safe for newborns, including premature infants, and despite knowing the

significant health risk posed to infants by ingesting these products, especially to preterm, low

weight infants, like Christifer Cervantes.

       50.     Defendant knows that its bovine formulas and/or fortifiers are causing NEC,

devastating injuries, and death in premature infants, yet Defendant has taken no action to change

its product, packaging, guidelines, instructions, and warnings to make them safe.

       51.     Defendant never informed Plaintiffs that its formula and/or fortifier could cause

their baby to develop NEC and other severe resulting injuries.




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        52.     Defendant never informed Plaintiffs that its formula and/or fortifier could cause

their baby any harm, including the development of NEC and other severe resulting injuries.

        53.     Defendant never informed Plaintiffs that its formula and/or fortifier was made with

bovine based ingredients.

        54.     Despite Defendant’s knowledge of the numerous studies establishing that its

products increase the risk of NEC in premature infants, Defendants never informed Plaintiffs of

the studies establishing that bovine formula and/or fortifier were extremely dangerous to their

baby.

        55.     Had Plaintiffs been informed of the facts, data, and science that linked the

Defendant’s product to NEC, they would not have allowed their baby to be fed Enfamil.

                                       CLAIMS ALLEGED

                                  FIRST CAUSE OF ACTION
                                     FAILURE TO WARN

        56.     Plaintiffs repeat and reallege the allegations in Paragraphs 1-55, above, as if fully

set forth herein.

        57.     Defendant, as the manufacturer and/or seller of the infant formulas and/or fortifiers

at issue in this litigation, owed a duty to the consuming public and Plaintiffs, to properly warn and

provide adequate warnings, instructions, labeling, and/or packaging about the dangers and risks

associated with the use of their products by preterm infants, specifically including, but not limited

to, the risk of NEC.

        58.     Given the bovine formula and/or fortifier at issue is non-prescription, does not

require a physician’s recommendation, and is sold with packaging and labels meant to inform the

average consumer. Thus, the learned intermediary doctrine does not apply.




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        59.        The FDA has issued guidance specifically for the labeling of infant formulas,

stating in part:

        Infant formulas are intended for a vulnerable population and may serve as a sole or
        primary source of nutrition for some infants during a critical period of growth and
        development. Caregivers of babies fed infant formula products must be able to trust
        that the information on the label is truthful, not misleading, and scientifically
        supported.37

        60.        Defendant, as the manufacturer and/or seller of the subject products, had a non-

delegable duty to design reasonably safe products; and thus, it cannot rely upon any intermediary,

including physicians, other healthcare providers, or healthcare staff, to fully warn the end user of

the hidden dangers and risks in its infant formula products that contain bovine-based ingredients,

specifically as it relates to the serious injuries that may result in preterm infants due to the increased

risk of NEC.

        61.        Defendant had a duty to manufacture and distribute infant formula products that

were reasonably safe for their foreseeable uses. It was Defendant’s duty to adequately warn of the

unreasonable risk of harm posed by bovine-based ingredients in its formulas and/or fortifiers,

specifically the increased risk of NEC, bodily injury, and even death, that may result with the use

of its formulas by pre-term infants, like Christifer Cervantes.

        62.        Defendant knew or should have known, as a leader in the industry, that the formulas

and/or fortifiers manufactured and/or distributed by Defendant were unreasonably dangerous

because of Defendant’s failure to warn of the adverse side effects, including NEC and/or death in

preterm infants.




37
  U.S. Food and Drug Administration, FDA Issues Guidance for the Labeling of Infant Formula,
September 16, 2016, https://www.fda.gov/food/cfsan-constituent-updates/fda-issues-guidance-labeling-
infant-formula.

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       63.     Specifically, Defendant breached its duty to the consuming public, including

Plaintiffs, to warn of the foreseeable risks of the formulas and/or fortifiers at issue by:

               a. failing to properly warn consumers, including, but not limited to, physicians,

                   hospitals, hospital staff, healthcare providers, and parents and/or guardians, that

                   their bovine formulas and/or fortifier products significantly increase the risk of

                   NEC and death in preterm infants;

               b. failing to provide consumers with adequate instructions on proper use and

                   administration of the subject products when used on preterm infants;

               c. failing to warn consumers that the subject products were unsafe and/or not

                   intended for the consumption by premature infants, including Christifer

                   Cervantes;

               d. failing to warn consumers that its product caused an increased risk of NEC,

                   specifically as it relates to preterm infants being enterally fed the subject

                   products;

               e. failing to provide consumers with proper instructions, labeling, and/or

                   packaging on how to administer and/or feed the subject products to premature

                   infants in order to decrease the risk of NEC and/or avoid other significant

                   complications including death;

               f. failing to insert warnings and/or instructions in its packaging of other

                   alternatives to bovine formulas including human milk which poses a decreased

                   risk of NEC;




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        g. providing instructions, packaging, and labeling containing warnings that were

           dangerously inadequate, vague, and did not warn that bovine based ingredients

           significantly increase the risk of NEC;

        h. failing to provide a label and/or instructions that reflect prominent studies

           regarding the risks and benefits of bovine formulas and/or fortifiers;

        i. failing to warn physicians and healthcare providers in the instructions, labeling,

           and/or packaging of the extreme risk associated with feeding premature infants

           bovine formula and/or fortifiers;

        j. failing to provide detailed instructions to physicians and/or hospitals, and other

           healthcare providers on when to stop feeding the subject product to preterm

           infants;

        k. failing to take adequate measures to warn parents and/or guardians of the

           dangers in using the subject products;

        l. failing to warn and/or concealed that there is a significant risk of NEC in

           premature infants fed bovine based formula, despite knowing that numerous

           studies and scientific data have established that there is a significant risk of

           NEC in premature infants fed bovine based formula;

        m. failing to place a prominent warning and instructions that would have prevented

           the feeding of the subject products to preterm infants, including Christifer

           Cervantes;

        n. failing to establish an appropriate standard for safe use;

        o. failing to provide statistical evidence of adverse effects regarding the feeding

           of its products to preterm infants;



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                p. failing to guide, instruct, and/or advise on when preterm infants should be

                    administered the formula, the amount of formula and/or fortifier that should be

                    administered, when the amount of formula and/or fortifier should be increased,

                    the frequency of the administration of the formula and/or fortifier, when feeding

                    with their formula and/or fortifier is not safe and/or inappropriate, and when

                    preterm infants should stop using this formula and/or fortifier; and

                q. failing to develop a protocol for hospitals and physicians with the elements to

                    assure safe use.

        64.     Had physicians, hospitals, and other healthcare providers known of the extreme risk

associated with feeding premature infants Defendant’s bovine formula and/or fortifier, they would

not have administered Defendant’s unsafe product to Christifer Cervantes.

        65.     Had Plaintiffs known of the extreme risks associated with feeding premature infants

bovine formula and/or fortifier, they would not have allowed Defendant’s unsafe product to be

administered to Christifer Cervantes.

        66.     As a direct and proximate result of Defendant’s conduct, as described herein,

Christifer Cervantes was administered and/or enterally fed the subject product causing him to

develop NEC, and ultimately caused serious injuries.

        67.     As a direct and proximate result of Defendant’s conduct, as described herein,

Plaintiffs suffered significant damages and their lives have been significantly affected by the

injuries of their baby.

                             SECOND CAUSE OF ACTION
                     STRICT LIABILITY FOR DEFECTIVE PRODUCT

        68.     Plaintiffs repeat and reallege the allegations in Paragraphs 1-55, above, as if fully

set forth herein.


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         69.    Defendant, as the manufacturer and/or seller of the infant formula and/or fortifier

at issue, owed a duty to the consuming public, including Plaintiffs, to manufacture, sell, and

distribute the formula and/or fortifier in a manner that was not unreasonably dangerous for its

intended use.

         70.    Defendant knew or should have known that its formula and/or fortifier was intended

for use on premature infants, like Christifer Cervantes, and that such use was unreasonably

dangerous due to bovine formula and/or fortifier significantly increasing the risk of NEC and/or

death.

         71.    Reliable scientific studies and data establish that bovine formulas and/or fortifiers,

including those manufactured and distributed by Defendant, carry unreasonable risks of NEC and

death, yet Defendant continued to market and sell its defective products for premature infants, like

Christifer Cervantes.

         72.    Despite Defendant’s knowledge of these significant risks, Defendant continued to

market, sell, and distribute their defective products to premature infants.

         73.    Defendant’s formula and/or fortifier, which was administered and/or enterally fed

to Christifer Cervantes, was unreasonably dangerous.

         74.    Defendant failed to develop a human-based milk product which was safer for

premature infants, despite knowing of the dangers of bovine formulas.

         75.    Defendant also failed to reformulate and/or redesign its formulas and/or fortifiers

to make them safe, including by reducing the risks of NEC, even though it knew of safer, more

effective alternatives.




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        76.       As a direct result Defendant’s conduct, as described herein, Defendant’s

unreasonably dangerous products were administered to Christifer Cervantes, causing him to

develop NEC and sustain serious injuries.

        77.       As a direct and proximate result of Defendant’s conduct, including developing,

manufacturing, selling, and distributing its unreasonably dangerous bovine formulas and/or

fortifiers, Plaintiffs suffered damages as their lives have been significantly affected by the injuries

of their baby.

                                    THIRD CAUSE OF ACTION
                                         NEGLIGENCE

        78.       Plaintiffs repeat and reallege the allegations in Paragraphs 1-55, above, as if fully

set forth herein.

        79.       Defendant, as the manufacturer, designer, seller, and distributor of the bovine

formulas and/or fortifiers at issue, had a duty to the consuming public, including Plaintiffs, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a safe product that did

not present an unreasonable risk of harm to consumers when used in its intended manner and for

its intended purpose.

        80.       At all relevant times, Christifer Cervantes was administered the formula and/or

fortifier at issue in its intended manner and for its intended purpose.

        81.       Defendant negligently and/or defectively made, created, manufactured, designed,

assembled, tested, marketed, sold, and/or distributed the bovine products at issue and thereby

breached its duty to the consuming public, including Plaintiffs.

        82.       Specifically, Defendant breached its duty to the consuming public, including

Plaintiffs, by:




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        a. failing to properly warn consumers, including but not limited to physicians,

           hospitals, hospital staff, healthcare providers, and parents and/or guardians, that

           its bovine products significantly increase the risk of NEC and death in preterm

           infants;

        b. failing to provide consumers with adequate instructions on proper use and

           administration of the subject products when used on preterm infants;

        c. failing to warn consumers that the subject products were unsafe and/or not

           intended for the consumption of premature infants including Christifer

           Cervantes;

        d. failing to warn consumers that its product caused an increased risk of NEC,

           specifically as it relates to preterm infants being enterally fed the subject

           products;

        e. failing to provide consumers with proper instructions, labeling, and/or

           packaging on how to administer and/or feed the subject products to premature

           infants in order to decrease the risk of NEC and/or avoid other significant

           complications, including death;

        f. failing to insert warnings and/or instructions in its packaging, notifying the

           consuming public of safe alternatives to bovine formulas and/or fortifiers,

           including human milk which decreases the risk of NEC;

        g. providing instructions, packaging, and labeling containing warnings that were

           dangerously inadequate, vague, and did not warn that bovine based ingredients

           significantly increase the risk of NEC;




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        h. failing to establish a label and/or instructions that notify the consuming public

           of reliable scientific studies and data establishing the risks of bovine formulas

           and/or formulas;

        i. failing to warn physicians and healthcare providers in the instructions, labeling,

           and/or packaging of the significant risk associated with administering

           premature infants bovine formulas and/or fortifiers;

        j. failing to provide detailed instructions to physicians, hospitals, and healthcare

           providers regarding when to stop administering the subject product to preterm

           infants;

        k. failing to take adequate measures to warn parents and/or guardians of the

           dangers in using the subject products;

        l. failing to warn and/or concealed that there is a significant risk of NEC in

           premature infants fed bovine based formula, despite knowing that numerous

           studies and scientific data have established that there is a significant risk of

           NEC in premature infants fed bovine based formula;

        m. failing to place a prominent warning and instructions that would have prevented

           the administering of the subject products to Christifer Cervantes;

        n. failing to establish an appropriate standard for safe use;

        o. failing to provide statistical evidence of adverse effects regarding the

           administration of its products to preterm infants;

        p. failing to guide, instruct, and/or advise the consuming public regarding when

           preterm infants should be administered the subject product, the amount of

           formula and/or fortifier that should be administered, when the amount of



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                    formula and/or fortifier should be increased, the frequency of the administration

                    of the formula and/or fortifier, when feeding with their formula and/or fortifier

                    is not safe and/or inappropriate, and when preterm infants should stop using its

                    formula and/or fortifier; and

                q. failing to develop a protocol for hospitals, physicians, and healthcare providers

                    to ensure safe use of its products.

        83.     As a direct result of Defendant’s conduct, as described herein, Christifer Cervantes

was exposed to Defendant’s unreasonably dangerous infant formula and suffered from NEC and

suffered severe injury.

        84.     As a direct result of Defendant’s conduct, as described herein, Defendant’s

unreasonably dangerous formulas and/or fortifiers were administered to Christifer Cervantes

causing him to develop NEC and suffer severe injury.

        85.     As a direct and proximate result of Defendant’s negligent conduct, Plaintiffs

suffered damages as their lives have been significantly affected by the injuries to their baby, to

Christifer Cervantes.

                               FOURTH CAUSE OF ACTION
                            NEGLIGENT MISREPRESENTATION

        86.     Plaintiffs repeat and reallege the allegations in Paragraphs 1-55, above, as if fully

set forth herein.

        87.     Defendant, as the manufacturer, designer, producer, seller, and distributor of the

subject products, had a duty to the consuming public, including Plaintiffs, to provide truthful and

accurate information about the risks of its bovine-based ingredients when the products are used in

their intended manner and for their intended purpose.




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       88.    At all relevant times, Christifer Cervantes was administered the products at issue in

their intended manner and for their intended purpose.

       89.    Defendant breached its duty to the consuming public, including Plaintiff, by:

              a. misrepresenting that its bovine formulas and/or fortifiers were safe for

                  premature infants when it knew or should have known that its bovine formulas

                  and/or fortifiers were unreasonably dangerous and caused NEC and death in

                  premature infants;

              b. misrepresenting that its bovine formulas and/or fortifiers have no serious side

                  effects, when it knew or should have known the opposite to be true;

              c. misrepresenting to consumers, including but not limited to, Plaintiffs here, as

                  well as other parents and/or guardians, physicians and healthcare providers, that

                  its bovine formulas and/or fortifiers were necessary to the growth and nutrition

                  of premature infants, when it knew or should have known that its products were

                  not necessary to achieve adequate growth and other safer alternatives are

                  available;

              d. misrepresenting that its bovine formulas and/or fortifiers are safe for premature

                  infants;

              e. misrepresenting that bovine formulas and/or fortifiers are necessary for

                  optimum growth;

              f. misrepresenting that bovine formulas and/or fortifiers are similar or equivalent

                  and/or a safe alternative to human milk;

              g. misrepresenting that the efficacy of bovine formulas and/or fortifiers were

                  based on well-established studies and/or science; and



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                 h. omitting and/or concealing that the subject products significantly increase the

                    risk of NEC in premature infants, which can cause severe injury and death.

        90.      As a direct result of Defendant’s conduct, as described herein, Christifer Cervantes

was exposed to dangerous bovine formulas and/or fortifiers, causing him to contract NEC and

suffer severe injury.

        91.      As a direct result of Defendant’s conduct, as described herein, its unreasonably

dangerous products were enterally administered to Christifer Cervantes causing him to develop

NEC and suffer severe injury.

        92.      As a direct and proximate result of Defendant’s conduct, as described herein,

Plaintiffs suffered significant damages as their lives have been significantly affected by the injuries

to their baby.

                                FIFTH CAUSE OF ACTION
                            BREACH OF IMPLIED WARRANTIES

        93.      Plaintiffs repeat and reallege the allegations in Paragraphs 1-55, above, as if fully

set forth herein.

        94.      At all relevant times, Christifer Cervantes’s parents and/or guardians, physicians,

and/or other healthcare providers enterally administered the bovine formulas and/or fortifiers to

Christifer Cervantes in their intended manner and for their intended purpose.

        95.      Defendant warranted, through marketing, advertisements, labels, packaging, and

instructions that its products were safe and effective for their reasonably anticipated uses, including

the enteral administration to premature infants.

        96.      Defendant implicitly warrants and markets as to its Enfamil line that Enfamil Neuro

Pro, Enfamil Premature Infant Formula 24 Cal High Protein, Enfamil Premature Infant Formula

30 Cal with Iron, Enfamil Premature Infant Formula 24 Cal with Iron, and Enfamil Premature


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Infant Formula 20 Cal with Iron are specifically intended to be administered to premature and/or

low birthweight infants.38

          97.     Defendant also warrants that Enfamil has committed to premature babies and

NICUs stating that “Enfamil has a long-standing commitment to helping every baby grow, develop

and thrive.”39

          98.     Defendant warrants that Enfamil NeuroPro Enfacare is: “proven to promote catch-

up growth to help support developmental outcomes during the first year”; and the “#1 Pediatrician

Recommended Brand.”40

          99.     Defendant warrants and markets on its “For Healthcare Professionals” webpage,

that: Enfamil Premature 20 Cal/fl oz, Enfamil Premature 24 cal/fl oz, Enfamil Premature 24 Cal/fl

oz HP, and Enfamil Premature 30 Cal/fl oz, are each “a milk-based infant formula specifically

formulated to meet the unique nutritional needs of rapidly growing premature or low birth weight

infants who do not receive human milk.”41

          100.    Defendant launched its “Early Kickoff” advertising campaign for Enfamil in early

January 2022, releasing a Super Bowl advertisement featuring NFL player Mekhi Becton, who

was born premature.42 The Enfamil commercial itself, warranted that “in those critical first weeks,




38
     Enfamil, https://www.enfamil.com/products/preemie-formula/ (last visited Feb. 22, 2022).
39
  Enfamil, https://www.enfamil.com/why-enfamil/nicu-premature-
baby/?gclid=EAIaIQobChMIjduloobx9QIV0AaICR239Ae2EAAYASAAEgLFHfD_BwE&gclsrc=aw.ds
(last visited Feb. 22, 2022).
40
  Mead Johnson Nutrition,
https://www.hcp.meadjohnson.com/s/product/a4R4J000000PpQjUAK/enfamil-neuropro-enfacare (last
visited Feb. 8, 2022).
41
  Mead Johnson Nutrition, https://www.hcp.meadjohnson.com/s/products?category=Formula (last visited
Feb. 8, 2022).
42
  Enfamil US, Expected: February 13. Born: 6 Weeks Early, YouTube (Jan. 27, 2022),
https://www.youtube.com/watch?v=aVVZ1R6MS-k.

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Enfamil is there for [premature babies] in NICUs with the nutrition babies need to get the best start

in life.”43 The advertisement highlighted Enfamil’s “longstanding commitment to and support of

preemies living their fullest lives,” with Enfamil branding and products visible throughout.

Amardeep Khalon, GM of marketing nutrition at Enfamil, said of the campaign, in part:

                    Our objective is to drive creative brilliance, bring to life, and amplify the brand
                    purpose for Enfamil. We passionately believe that babies are the most
                    important people in the world and that we play a critical role in helping them
                    thrive through world class nutrition to help them fuel their wonder. We wanted
                    to bring attention to the over 380,000 premature babies born in the US every
                    year and the unique care and nutrition that they need. Even though nothing is
                    better for babies than breastfeeding, unfortunately, not every baby can be
                    breastfed. In those critical first few weeks, Enfamil is there for them in
                    neonatal intensive care units with everything premature babies need to get the
                    best start in life. Through the Early Kickoff campaign, we have creatively
                    brought attention to the issues facing premature babies and how with the right
                    care and nutrition they can thrive through the first ever premature Superbowl
                    commercial. 44

             101.   Thus, despite the existence of safe, alternative human milk-based formulas and

fortifiers, Defendant continues to misleadingly market and/or sell its bovine formulas and/or

fortifiers under the guise of being safe for newborns, despite knowing the significant health risk

posed by ingesting these products, especially to preterm, low weight infants, like Christifer

Cervantes.

             102.   Defendants warranted that their products were necessary for growth and safe for

use.

             103.   Defendant Mead warrants that Enfamil Premature 30 Cal/fl oz is a:

                    milk-based infant formula specifically formulated to meet the unique
                    nutritional needs of rapidly growing premature or low-birth-weight infants
                    who do not receive human milk. The Enfamil Premature Nutrition portfolio
                    is the only premature infant formula line designed to meet the latest Global

43
     Id.
44
  Robert Goldrich, McCann, MRM Debut “Premature” Super Bowl Spot For Enfamil, NICU Babies,
(Jan. 21, 2022).

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                 Expert Recommendations for all labeled nutrients. Protein is a major driver
                 of lean mass growth and neuro-cognitive outcomes, and Enfamil Premature
                 Nutrition supports these protein needs. Enfamil Premature 30 Cal/fl oz is a
                 versatile formula. It is ready to use at its full concentration for a calorically
                 dense 30 Cal/fl oz formula or can be customized for infants in the NICU. It
                 can be mixed with Enfamil Premature 24 Cal to attain between 25 and 29
                 Cal/fl oz, or increase the protein content by mixing with Enfamil Premature
                 24 Cal HP.45

          104.   Defendant also warrants that “Enfamil Premature is the best formula for newborns

with a low birth weight. It has high levels of the nutrients that help promote catch up growth and

support a developing immune system.46

          105.   Nowhere on Defendant’s promotional website47, does Defendant mention any of

NEC’s risks. To the contrary across its promotional web page Defendant expressly and implicitly

represents that its bovine products are safe for use with premature infants. That is false and

misleading. Defendant’s advertisements claim to give proper nourishments, but fails to disclose

the risk of NEC.

          106.   Despite the existence of safe, alternative human milk-based formulas and fortifiers,

Defendant continues to market and/or sell its bovine formulas and/or fortifiers under the guise of

being safe for newborns, despite knowing the significant health risk posed by ingesting these

products, especially to preterm, low weight infants, like Christifer Cervantes.

          107.   The bovine formulas and/or fortifiers did not conform to these implied

representations because Defendant manufactured, sold, and advertised the formula, which was not

similar or equivalent to human milk, was not necessary for growth, and which was not based upon


45
   Mead Johnson Nutrition,
https://www.hcp.meadjohnson.com/s/product/a4R4J000000PpQkUAK/enfamil-premature-30-calfl-oz
(last visited Feb. 19, 2022).
46
  Enfamil, https://www.enfamil.com/articles/best-baby-formula-for-babys-needs/ (last visited Feb. 13,
2022).
47
     https://www.hcp.meadjohnson.com/s/product/a4R4J000000PpQkUAK/enfamil-premature-30-calfl-oz

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current data and science establishing problematic health risks of bovine-based formula to pre-term

infants that caused significant harm and/or death to premature infants.

        108.    As a direct result of Defendant’s conduct, as described herein, unreasonably

dangerous bovine formulas and/or fortifiers were administered to Christifer Cervantes, causing

him to develop NEC and suffer serious injuries.

        109.    As a direct and proximate result of Defendants’ conduct, as described herein,

Plaintiffs have suffered damages as their lives have been significantly affected by the injuries to

their baby, Christifer Cervantes.

                             SIXTH CAUSE OF ACTION
                        PRODUCTS LIABILITY – DESIGN DEFECT
                               UNDER ILLINOIS LAW

        110.    Plaintiffs repeat and reallege the allegations in Paragraphs 1-55, above, as if fully

set forth herein.

        111.    Defendant’s bovine formulas and/or fortifiers, which were consumed by Christifer

Cervantes and which caused his injuries, were defective in their design or formulation in that they

are not reasonably fit, suitable, or safe for their intended purpose and/or the foreseeable risks

exceed the benefits associated with their design and formulation. The products were unreasonably

dangerous in design.

        112.    At all relevant times, Defendant’s bovine formulas and/or fortifiers expected to

reach, and did reach, consumers in the State of Illinois and across the United States, including

Plaintiffs, without substantial change in the condition in which they were sold.

        113.    At all relevant times, Defendant’s bovine formulas and/or fortifiers were designed,

developed, manufactured, tested, packaged, promoted, marketed, distributed, labeled, and/or sold

by Defendant in a defective or unreasonably dangerous condition at the time placed in the stream

of commerce in ways, which include, but are not limited to, one or more of the following:

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        a. when placed in the stream of commerce, the bovine formulas and/or fortifiers

           contained unreasonably dangerous design defects and were not reasonably safe

           as intended to be used, subjecting Christifer Cervantes to risks that exceeded

           the benefits of the subject product, including personal injury and death;

        b. when placed in the stream of commerce, Defendant’s formulas and/or fortifiers

           were defective in design and formulation, making the use of Defendant’s

           products more dangerous than an ordinary consumer would expect, and more

           dangerous than other risks associated with non-bovine formulas and/or

           fortifiers;

        c. the design defects with Defendant’s formulas and/or fortifiers existed before

           they left the control of Defendant;

        d. the harmful side effects of Defendant’s formulas and/or fortifiers outweighed

           any potential utility;

        e. Defendant’s formulas and/or fortifiers were not accompanied by adequate

           instructions and/or adequate warnings to fully apprise consumers, including

           Plaintiffs, of the full nature and extent of the risks and side effects associated

           with their use; and

        f. at the time Defendant’s formulas and/or fortifier’s left Defendant’s control,

           there existed one or more safe, alternative designs for said products, with such

           alternative design(s) capable of preventing Plaintiffs damages, and the danger

           of the damage from Defendant’s bovine formulas and/or fortifiers outweighed

           the burden on Defendant of adopting the alternative design(s).




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       114.    Defendant knew or should have known that its respective products would be

administered to premature infants, including Christifer Cervantes, and that such use would

significantly increase the risk of NEC and significant injury to him.

       115.    Defendant took no actions to prevent the administration of its bovine formulas

and/or fortifiers to premature infants, including Christifer Cervantes.

       116.    The formulas and/or fortifiers were designed, manufactured, and distributed by

Defendant.

       117.    Defendant’s bovine formulas and/or fortifiers were not safe to be administered to

premature infants, including Christifer Cervantes, and Defendant knew or should have known they

were unsafe.

       118.    Despite Defendant’s knowledge that its products were unreasonably dangerous

when administered to premature infants, it failed to provide any instructions or guidelines on when

and how its products would be safe to administer to or with a premature infant, like Christifer

Cervantes. Defendant misleadingly marketed its respective products as safe and beneficial for

premature infants, like Christifer Cervantes.

       119.    As a direct and proximate result of the foregoing acts and omissions, Defendant’s

formulas and/or fortifiers were a substantial factor in causing Christifer Cervantes’s NEC and his

serious injuries arising therefrom.

       120.    As a direct and proximate result of the foregoing acts and omissions, Plaintiffs

suffered damages as their life has been significantly affected by the injuries to their baby, Christifer

Cervantes.




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                         SEVENTH CAUSE OF ACTION
                 VIOLATION OF THE ILLINOIS CONSUMER FRAUD
            AND DECEPTIVE TRADE PRACTICES ACT 815 ILCS 505/1, et seq.

       121.     Plaintiffs repeat and reallege the allegations in Paragraphs 1-55above, as if fully set

forth herein.

       122.     The Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill. Comp.

Stat. 505/2, states that, “[u]nfair methods of competition and unfair or deceptive acts or practices

. . . are hereby declared unlawful whether any person has in fact been misled, deceived or damaged

thereby.”

       123.     By the conduct described in detail above and incorporated herein, Defendant

engaged in unfair or deceptive acts in violation of the Illinois Consumer Fraud and Deceptive

Business Practices Act.

       124.     Defendant’s unfair and deceptive practices include:

                a. developing a systematic, pervasive, effective, and manipulative marketing

                   scheme designed to make parents and healthcare providers believe Enfamil and

                   other bovine products were as safe, or even safer, than human milk; including

                   that it was safe for premature infants;

                b. engaging in advertising, promotion and marketing inducing parents and

                   healthcare providers of premature infants to not breastfeed by diminishing the

                   public perception of the importance of breastfeeding, and placing formula

                   feeding on an equivalent level;

                c. concealing and omitting the risks of NEC associated with the use of Enfamil

                   and bovine milk by premature infants;

                d. knowingly and falsely representing that Defendant’s formulas and/or fortifiers

                   were fit to be used for the purpose for which it was intended; and

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              e. representing that its products have characteristics, ingredients, uses, benefits, or

                  quantities that they do not have.

       125.   Defendant’s false and misleading representations and omissions concerning

Enfamil and bovine milk are material facts that a reasonable person would have considered when

deciding whether or not to purchase or use Enfamil.

       126.   Defendant’s misleading omissions and representations concerning the risks of

Enfamil, and Defendant’s scheme to promote Enfamil and other bovine milk products as no less

safe than human milk: (a) were against public policy; (b) were immoral, unethical, oppressive,

and unscrupulous; and (c) caused substantial injuries to consumers.

       127.   Defendant intended for parents and healthcare providers, including the parents and

healthcare providers of Christifer Cervantes, to rely on its misleading representations and

omissions regarding Enfamil and other bovine milk products.

       128.   Defendant’s unfair scheme to promote Enfamil and bovine milk products, and its

deceptive representations and omissions concerning Enfamil and other bovine milk products,

occurred in the course of conduct involving trade or commerce.

       129.   Christifer   Cervantes’s     healthcare    providers    relied   upon     Defendant’s

misrepresentations and omissions in determining which product to administer to him, and

Christifer Cervantes’s parents were deceived into not objecting to Defendant’s products by virtue

of Defendant’s misrepresentations and omissions and deceptive marketing campaigns.

       130.   As a direct and proximate result of Defendant’s deceptive and unfair conduct,

described above, Christifer Cervantes was administered Enfamil and sustained injuries and

damages as described herein.




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        131.    As a direct and proximate result of Defendant’s deceptive and unfair conduct,

described above, Ashley Cervantes suffered damages, as described herein, as her life has been

significantly affected by the injuries to her baby, Christifer Cervantes.

                           EIGHTH CAUSE OF ACTION
                        VIOLATION OF THE WASHINGTON
                    CONSUMER PROTECTION ACT 19.86 RCW, et seq.

        132.    Plaintiffs repeat and reallege the allegations in Paragraphs 1-55 above, as if fully

set forth herein.

        133.    The Washington Consumer Protection Act (“WCPA”) makes unlawful “[u]nfair

methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

commerce.” Wash. Rev. Code § 19.86.020.

        134.    By the conduct described in detail above and incorporated herein, Defendant

engaged in unfair or deceptive acts in violation of Wash. Rev. Code § 19.86.020.

        135.    Defendant’s unfair and deceptive practices include:

                a. developing a systematic, pervasive, effective, and manipulative marketing

                    scheme designed to make parents and healthcare providers believe Enfamil and

                    other bovine products were as safe, or even safer, than human milk; including

                    that it was safe for premature infants;

                b. engaging in advertising, promotion and marketing inducing parents and

                    healthcare providers of premature infants to not breastfeed by diminishing the

                    public perception of the importance of breastfeeding, and placing formula

                    feeding on an equivalent level;

                c. concealing and omitting the risks of NEC associated with the use of Enfamil

                    and bovine milk by premature infants;



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               d. knowingly and falsely representing that Defendant’s formulas and/or fortifiers

                   were fit to be used for the purpose for which it was intended; and

               e. representing that its products have characteristics, ingredients, uses, benefits, or

                   quantities that they do not have.

       136.    Defendant’s false and misleading representations and omissions concerning

Enfamil and bovine milk are material facts that a reasonable person would have considered when

deciding whether or not to purchase or use Enfamil.

       137.    Defendant’s misleading omissions and representations concerning the risks of

Enfamil, and Defendant’s scheme to promote Enfamil and other bovine milk products as no less

safe than human milk: (a) were against public policy; (b) were immoral, unethical, oppressive,

and unscrupulous; and (c) caused substantial injuries to consumers.

       138.    Defendant’s misleading omissions and representations concerning the risks of

Enfamil, and Defendant’s scheme to promote Enfamil and other bovine milk products as no less

safe than human milk had the capacity to deceive a substantial portion of the purchasing public.

       139.    Defendant intended for parents and healthcare providers, including the parents and

healthcare providers of Christifer Cervantes, to rely on its misleading representations and

omissions regarding Enfamil and other bovine milk products.

       140.    Defendant’s unfair scheme to promote Enfamil and bovine milk products, and its

deceptive representations and omissions concerning Enfamil and other bovine milk products,

occurred in the course of conduct involving trade or commerce.

       141.    Defendant’s unfair scheme to promote Enfamil and bovine milk products, and its

deceptive representations and omissions concerning Enfamil and other bovine milk products,

affected the public interest, including the health of Washington children.



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       142.    Christifer   Cervantes’s     healthcare    providers    relied   upon   Defendant’s

misrepresentations and omissions in determining which product to administer to him, and

Christifer Cervantes’s parents were deceived into not objecting to Defendant’s products by virtue

of Defendant’s misrepresentations and omissions and deceptive marketing campaigns.

       143.    As a direct and proximate result of Defendant’s deceptive and unfair conduct,

described above, Christifer Cervantes was administered Enfamil and sustained injuries and

damages as described herein.

       144.    As a direct and proximate result of Defendant’s deceptive and unfair conduct,

described above, Ashley Cervantes suffered damages, as described herein, as her life has been

significantly affected by the injuries to her baby, Christifer Cervantes.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their favor

and against Defendant on each of the above-stated Claims as follows:

       A. For general damages in a sum in excess of this Court’s jurisdictional minimum;

       B. For medical, incidental, and hospital expenses, according to proof;

       C. For pre-judgment and post-judgment interest, as provided by law;

       D. For consequential damages in excess of this Court’s jurisdictional minimum;

       E. For compensatory damages in excess of this Court’s jurisdictional minimum;

       F. For punitive damages;

       G. For treble damages as defined by various statutes herein;

       H. For attorneys’ fees, expenses, and costs of this action; and

       I. For all other and further relief that this Court deems appropriate.




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                                       JURY DEMAND

      Plaintiffs hereby demand a trial by jury as to all claims so triable.

Dated: April 18, 2022
                                             Respectfully submitted,



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* pro hac vice motions to be filed




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